Dear Secretary Carnahan:
This office is in receipt of your letter of November 18, 2005, submitting to us a summary statement prepared under Section116.334, RSMo, for statutory amendments relating to Medicaid. The proposed summary statement is as follows:
Shall Missouri statutes be amended to:
  reinstate state Medicaid healthcare programs and services for eligible low income Missouri families, children, elderly, and disabled;
  modify the income eligibility limit for Missourians who receive permanent and total disability benefits or aid to the blind benefits;
  include healthcare coverage for custodial parents of children who are eligible to receive Medicaid benefits; and
  continue the state Medicaid program beyond the current deadline of June 30, 2008?
Pursuant to Section 116.334, we approve the legal content and form of the proposed statement. Because our review of the statement is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the resolution, nor as the expression of any view regarding the objectives of its proponents.
Very truly yours,
  Jeremiah W. (Jay) Nixon Attorney General